Case 1:14-cv-00213-CMH-TCB Document 99 Filed 12/22/14 Page 1 of 1 PageID# 510




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



  VICTORIA RHODES, QUINTON GARDNER,
  SELINA RIGGS, DONELL ELLIS AND
  KWAN JOHNSON
          Plaintiffs,
                                                          C/A No. 1:14-CV-213.CMH-TCB




  COMPUTER SCIENCES CORPORATION
                 Defendant.


                                                ORDER


         CONSIDERING the foregoing Unopposed Motion for Stay of Execution of Judgment;

         IT IS HEREBY ORDERED that the motion is granted and Defendant is ordered to post a

  bond with the clerk of this court in the amount of $386,000.00. The form of the bond and power

  of attorney submitted by the Defendant to the Court are acceptable to the Court. Facsimile

  signatures on the power of attorney documents are acceptable, and the signatory for the surety

  may reside outside of the jurisdiction if licensed in Virginia.

         IT IS FURTHER ORDERED that the bond shall be posted by December 26, 2014.



  JW. 7^1.;
  DATE                                           UNITED STATES DISTRICT JUDGE
